Case: 2:20-cv-05009-MHW-KAJ Doc #: 73 Filed: 07/07/23 Page: 1 of 1 PAGEID #: 5707
**AO 450 (Rev. 5/85) Judgment in a Civil Case

                       UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO

                                                JUDGMENT IN A CIVIL CASE


Celestia Chapman,
                 vs.                                 Case No. 2:20-cv-5009


Brentlinger Enterprises,                             Judge Michael H. Watson


[] Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.
[] Decision by Court. This action came to trial or hearing before the Court. The issues have
been tried or heard and a decision has been rendered.
[X] Decision by Court. This action was decided by the Court without a trial or hearing.

IT IS ORDERED AND ADJUDGED that pursuant to the July 7, 2023 Opinion and Order:
judgment is entered to Defendant on Claims I, II, III, IV, V, VI, VII; and
judgment is entered to Plaintiff on Claim VIII in the amount of $18,615.00.

Date: July 7, 2023                         Richard Nagel, Clerk




                                                  s/ Jennifer Kacsor
                                                By Jennifer Kacsor/Courtroom Deputy
